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lN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

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JosE BANUELOS and TINA ) \
BANUELOS, ) JUL 13 2005
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Plaimiffs, ) 3'."? 'G°wd. c».,k
) No. 1:04-€\/-01134 W'D~OFT~.J¢C§¢" n
vs. )
)
CHANDELEUR HoMEs, INC., )
)
Defendants. )

PRETRIAL ORDER

The parties, by and through counsel, submit the following pre-trial order.
l. Jurisdictional Questions.

There are no jurisdictional issues to be resolved.
2. Pending Motions.

A. Plaintiff’s Motions

B. Defendant’s Motions

The defendant anticipates filing four (4) motions in limine pertaining to the exclusion of
certain anticipated evidence and requests that these be heard before the beginning of trial
3. Contentions of the Parties.

A. Plaintiff’s Contentions

The Plaintiffs allege that the fire Was a result of a manufacturing defect in the Wiring of
the mobile home. lt is also alleged that the defect Was a breach of implied Warranties of
merchantability and fitness for a particular purpose Based primarily upon the opinion of the
Plaintiffs’ experts, Mr. Gerald Alsup and l\/lr. Dan Wiener, it is the Plaintiffs’ position that the

fire originated in the ceiling area of the utility room over an electrical panel box. The cause of

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with Rule 58 and,'or,?Q (a} FF\CP on 0 l

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the fire was an electrical failure in the number 12 copper conductor cable running through the
attic space above the laundry room which provided a source of ignition This was probably the
result of damage caused by improper installation of a staple or other cable restraint which
occurred during the manufacturing process

B. Defendant’s Contentions

The defendant denies that any type of manufacturing defect caused the fire, including the
alleged improper installation of a Staple or other restraint device. ln fact, the defendant did not
place a staple or other restraining device in the area where the plaintiffs allege the fire originated
Rather, the defendant asserts that the flre originated in the floor of the utility room of the mobile
home and was caused by the ignition of gasoline that was present on this floor and placed there
by an external source.
4. Stipulated Facts

A. The mobile home which is the subject of this suit was manufactured by the
defendant Chandeleur Homes in March of 1996 at its factory in Boaz, AL. The home was sold
to Tennessee Mobile Home Sales, a mobile horne dealer in Milan, Tennessee and was purchased
from the dealer by the Plaintiffs. The Plaintiffs insured the mobile home and its contents through

a home owners policy with American Modern Home Insurance Company.

5. Contested Issues of Fact
A. The cause and the origin of the fire
6. Contested lssues of Law

The plaintiffs assert four causes of action in their complaint: (l) products liability claim,
(2) negligence claim, (3) breach of implied warranty claim, and (4) res ipsa loquitur claim. The

defendant asserts that the plaintiffs may not pursue a products liability and negligence claims

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with respect to alleged damage to the mobile home itself because that claim is barred by the
economic loss doctrine. ln addition, the breach of implied warranty claim is not a viable cause
of action because the plaintiffs and the defendant are not in privity of contract. Finally, the res
ipsa claim fails because the evidence shows that the defendant has not had control of the mobile
home since it was manufactured in 1996. Finally, the defendant asserts that all of the plaintiffs
claims are barred by the statute ofrepose. TENN. CODE ANN. § 28-3-202.
7'. Exhibits to be Offered at Trial
A. Plaintiffs Exhibits
l. Claim flle of American l\/lodern Home Insurance Company
2. List of Damaged Property and Expenses by Plaintiffs and American
Modern Home.
3. Reports of Dan Weiner and Gerald Alsup
4. Photographs taken by Mr. Weiner, Mr. Alsup and the Huntingdon
Tennessee Fire Department.
B. Defendant’s Exhibits
l. Photographs of fire scene taken by Huntin_gton Fire Department, Wayne

Miller, Gerald Alsup, and Dan Weiner.

2. Diagram/Floor Plan of subject manufactured home.
3. Inspection Checklist of Chandeleur Homes, lnc.
4. lgnitable Liquids Analysis of Travelers Loss Prevention & Engineering

laboratory dated December 23, 2003.
5. Electrical Schematics of subject manufactured home

6. lnvoices from Unifled Investigation & Science, Inc.

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7.

Report of Wayne Miller

Witnesses to be Called

A. Plaintiff’ s Witnesses

l.

Those expected to be called

a. Jose Banuelos
b. Tina Banuelos
c. Dan Weiner
d. Gerald Alsup
e. Vicl<i Brown

2. Those that may be called
a. Bobby Brewer
b. Doug Pruitt
c. Mike l\/lurphy

B. Defendant’s Witnesses

l. Those expected to be called
a. Bobby Brewer
b, Michael McClure
c. Wayne Miller
d. Garrett McKone
e. Scott Roberts

2. Those that may be called

H.

b.

Chris Honaker

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Marcel Baril
Lenny Howes
Doug Pruitt

Mike Murphy

Respectfully submitted, 4 [/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:04-CV-01134 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

